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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


  E. JEAN CARROLL,                                   Civil Action No.: 22-cv-10016

                        Plaintiff,

         v.                                                NOTICE OF DEFENDANT’S
                                                          MOTION TO STAY DISCOVERY
  DONALD J. TRUMP,

                        Defendant.


       PLEASE TAKE NOTICE that the defendant, Donald J. Trump (“Defendant”), hereby

moves, pursuant to Fed. R. Civ. P. 26(c), for an order staying discovery in the instant matter

pending the adjudication of Defendant’s motion to dismiss. This motion is supported by the

annexed memorandum of law, any arguments or evidence presented in reply, and all arguments or

evidence presented at a hearing or with leave of Court.

                                                    Respectfully submitted,



Dated: December 21, 2021.                           ___________________________
       New York, New York                           Alina Habba, Esq.
                                                    Michael T. Madaio, Esq.
                                                    HABBA MADAIO & ASSOCIATES LLP
